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                                                                                       COPY for Service
 STATE OF MAINE                                                         SUPERIOR COURT
 CUMBERLAND,ss                                                          CIVIL ACTION
                                                                        DOCKET NO.:
  MOLLY FITZPATRICK, of North
  Yarmouth, Cumberland County, Maine,

  Plaintiff,

  v.

  KEITH EMERY,of Old Town,
  Penobscot County, Maine,
                                                                  COMPLAINT
  In his Official Capacity as an Old Town
                                                         (WITH DEMAND FOR JURY TRIAL)
  Police Officer and in his Individual
  Capacity,

  and

  CITY OF OLD TOWN
  a municipality in the state of Maine,

  Defendants

        NOW COMES Plaintiff and hereby complains against Defendants as follows:

                                  PRELIMINARY STATEMENT

         1.      On April 12, 2015, Defendant Officer Keith Emery of the Old Town Police

 Department repeatedly misapplied the laws he is entrusted to enforce and unlawfully arrested

 Plaintiff Molly Fitzpatrick. His initial decision to arrest her for failing to give her correct date of

 birth after she had in fact given her correct date of birth on multiple occasions, according to his

 own report, was unlawful. His subsequent failure to verify her date of birth when she again gave

 her correct date of birth, as he was required to do under the law, and failure to release her from

 custody after he had even confirmed her correct date of birth through dispatch, which he was

 required to do under the law, was an unlawful arrest and evidence ofthe City of Old Town's

 inadequate training. Fitzpatrick, a young student at the University of Maine with no criminal

 history, spent the night in Penobscot County Jail, suffered physical injuries, and has a permanent
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 record of arrest as a result of Officer Emery's unlawful arrest and the City of Old Town's failure

 to train Emery.

                                      STATEMENT OF FACTS

        2.      Plaintiff Molly Fitzpatrick ("Fitzpatrick") is a resident of North Yarmouth,

 County of Cumberland, and State of Maine.

        3.      Defendant Keith Emery ("Officer Emery") is a police officer in Old Town,

 County of Penobscot, and State of Maine.

        4.      Defendant City of Old Town is a municipality organized under the taws of the

 State of Maine.

        5.      Fitzpatrick was a student at the University of Maine in Orono at all relevant times

 to this Complaint.

        6.      On or about 12 AM on April 12, 2015, Fitzpatrick was a passenger in a vehicle

 stopped by Officer Emery in Orono.

        7.      After stopping the vehicle for speeding, Officer Emery inquired if there were any

 drugs or alcohol in the car.

        8.      All occupants denied any drugs or alcohol were in the car.

        9.      Officer Emery checked the IDs of the passengers.

         10.       Fitzpatrick did not have an ID on her and was asked to step out of the car by

 Officer Emery, despite there being no probable cause of a crime or civil violation having been

 committed.

         11.       Officer Emery never asked Fitzpatrick whether she had been drinking.

         19.       Fitzpatrick has no criminal history of any kind.

         13.       Fitzpatrick was not accustomed to interacting with law enforcement officers and

 was very nervous at the time of her interaction with Officer Emery.
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         14.       When asked for her date of birth, Fitzpatrick gave her correct date of birth, April

 6, 1995, as stated in Officer Emery's own police report.

         15.       Officer Emery had Fitzpatrick get back into the car while he processed paperwork

 in his cruiser.

         16.       Officer Emery then gave dispatch an incorrect date of birth for Fitzpatrick, which

 unsurprisingly could not be confirmed as the correct date of birth for Fitzpatrick.

         17.       Officer Emery returned to the car and told Fitzpatrick that she needed to get out of

 the car because she gave a "fake ID."

         18.       Officer Emery never warned Fitzpatrick at any point that giving a false name or

 date of birth could be a crime.

         19.       Fitzpatrick again gave her correct date of birth after she was taken back out of the

 car.

         20.       Officer Emery told Fitzpatrick it was too late and became irate, yelling at her

 about giving the incorrect date of birth and using unprofessional language for a law enforcement

 officer under the circumstances.

         21.       Officer Emery pushed Fitzpatrick's body against his cruiser and placed her in

 handcuffs.

         22.       Fitzpatrick sustained cuts and bruising to her wrists from the manner that Officer

 Emery placed her in handcuffs.

         23.       Fitzpatrick was arrested for and charged with violating 17-A M.R.S. § 17(2).

         24.       Officer Einery checked Fitzpatrick's date of birth a second time through his radio

 dispatch after arresting her.

         25.       Dispatch confirmed that April 6, 1995 was the correct date of birth only minutes

 after Officer Emery had taken Fitzpatrick into custody.
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           26.   17-A M.R.S. 17(3) required Officer Emery to release Fitzpatrick from custody at

 this time when she was merely miles from her dorm room.

           27.   Instead, Fitzpatrick was taken to the Penobscot County Jail and held until 3:45

 AM.

           28.   Fitzpatrick was subject to ridicule and inappropriate comments by prisoners and

 jail staff while awaiting her processing for bail.

           29.   A record of Fitzpatrick's arrest in this matter will exist for the rest of her life and

 she will be required to explain her arrest to numerous parties, including potential employers.

           30.   The charges against Fitzpatrick were dismissed the very next day in a follow up

 report where Officer Emery again misapplied the plain language of 17-A M.R.S. § 17(2).

                                            COUNT I
                                    UNLAWFUL ARREST
                                       (42 U.S.C. § 1983)
                 (Fitzpatrick v. Emery in his Official and Individual Capacities)

           31.   Fitzpatrick repeats and realleges Paragraphs 1 through 30 as if set forth fully

 herein.

           32.   The right to be free from unreasonable search and seizure includes the right not to

 be arrested except when facts and circumstances, of which the arresting officer has reasonably

 trustworthy infounation, would warrant an ordinarily prudent and cautious police officer to

 believe the subject did commit or was committing a crime.

           33.   At all times relevant to this Complaint, Fitzpatrick had a Constitutional right of

 liberty to bodily integrity, including but not limited to a freedom from false and unlawful arrest by

 Old Town police officers.

           34.   17-A M.R.S. § 17(2) states that

 Any person to whom a law enforcement officer is authorized to issue or deliver a summons
 pursuant to subsection 1 who intentionally fails or refuses to provide the officer reasonably
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  credible evidence of the person's correct name, address or date of birth commits a Class E crime,
  if the person persists in that failure or refusal after having been informed by the officer of the
  provisions of this subsection.

           35.    17-A M.R.S. § 17(2) states further that

  After informing the person of the provisions of this subsection, the officer may arrest the person
  either if the person intentionally refuses to furnish any evidence ofthat person's correct name,
  address or date of birth or if, after attempting to verify the evidence as provided for in this
  subsection, the officer has probable cause to believe that the person has intentionally failed to
  provide reasonably credible evidence of the person's correct name, address or date of birth.

           36.    Officer Emery was not authorized to issue or deliver a summons to Fitzpatrick

  because there was no probable cause that she had committed a crime or civil violation of any

  kind at any point.

           37.    Officer Emery never warned Fitzpatrick about the provisions of 17-A M.R.S. §

  17(2).

           38.    Fitzpatrick provided Officer Emery with reasonably credible evidence of her

  correct name, address, and date of birth on multiple occasions.

           39.    Officer Emery failed to release Fitzpatrick from custody and comply with 17-A

  M.R.S. § 17(3) after verifying her correct date of birth.

           40.    There was no evidence offacts and circumstances sufficient to justify the belief

  that Fitzpatrick was committing a crime.

           41.    Officer Emery violated Fitzpatrick's right to be free from unlawful arrest when he

  arrested her.

           42.    At all times relevant to this Complaint, Officer Emery was acting under color of

  state law.

           43.    As a result of Officer Emery's actions Fitzpatrick suffered damages, including but

  not limited to pain, suffering, humiliation, embarrassment, and peiuianent impairment of future

  earning capacity.

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         WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this Court

  enter judgment in her favor and award her damages, reasonable attorney's fees and costs and

  whatever other relief this Court deems just and equitable.

                                              COUNT II
                                        UNLAWFUL ARREST
                                          (42 U.S.C. § 1983)
                                   (Fitzpatrick v. City of Old Town)

         44.     Fitzpatrick repeats and realleges Paragraphs 1 through 43 as ifset forth fully herein.

         45.     At all times relevant to this Complaint, Fitzpatrick had a Constitutional right of

 liberty to bodily integrity, including but not limited to a freedom from false and unlawful arrest by

 Old Town police officers.

         46.     With deliberate indifference to the right of individuals in the City of Old Town to

 be free from invasions of bodily integrity and unlawful arrest by police, the City of Old Town

 failed to conduct adequate training and supervision of officers about their powers of arrest under

 17-A M.R.S § 17.

         47.    The training provided by the City of Old Town to Officer Emery was clearly

 inadequate for his task performed when he repeatedly misapplied the plain language of 17-A

 M.R.S § 17.

         48.    Officer Emery was not trained to warn Fitzpatrick that failure to provide her correct

 date of birth could be a crime.

         49.     Officer Emery was not trained that he was required to verify information about

 Fitzpatrick's date of birth before placing her under arrest.

         50.     Officer Emery was not trained that he was required to release Fitzpatrick from

  custody if information about her date of birth was confirmed subsequent to her arrest.




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         5 1.    At all times relevant to this Complaint, it was the longstanding widespread

  deliberately indifferent custom, habit, practice and/or policy of the City of Old Town to fail to

 properly train officers how to properly apply the requirements of 17-A M.R.S. § 17 without

 affecting an unlawful an-est.

         52.     These deliberately indifferent customs and/or inadequate trainings were closely

 related to and/or actually caused Fitzpatrick's unlawful arrest and the injuries resulting from that

 unlawful arrest.

         53.    As a result of the City of Old Town's actions and inactions, Fitzpatrick suffered

 damages, including but not limited to pain, suffering, humiliation, embarrassment, and

 permanent impairment of future earning capacity.

         WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this Court

 enter judgment in her favor and award her damages, reasonable attorney's fees and costs and

 whatever other relief this Court deems just and equitable.

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 Date:
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